               Case 3:23-cv-00375-SDD-SDJ               Document 3        05/16/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA



    Brandon Sibley
   Plaintiff
   v.                                                              23-375
                                                                   Civil Action No.
    Continental Land and Fur, et al
   Defendant

                                CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    The State of Louisiana through the Department of Wildlife and Fisheries


    provides the following information:
            A complete list of all persons, associations of persons, firms, partnerships, corporations,
    guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
    financially interested in the outcome of the case:
    *Please separate names with a comma and do not add address information. Only text visible
    within box will print.
    The State of Louisiana, Louisiana Office of Risk Management, Louisiana Department of
    Wildlife and Fisheries, Jack Monteoucet, Continental Land and Fur, Dewayne Crawford, and
    R. Paul Loveless.




                                                                  /s/ Matthew P. Roth
                                                                   Attorney Name and Bar Number

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
